Case 0:25-cv-60467-DSL Document1-1 Entered on FLSD Docket 11/25/2024 Page 1of1

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AO 120 (Rev. 08/10)

TO: Mail Stop 8 REPORT ON THE
: Director of the U.S. Patent and Trademark Office FILING OR DETERMINATION OF AN
P.O. Box 1450 ACTION REGARDING A PATENT OR
Alexandria, VA 22313-1450 TRADEMARK
In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
filed in the U.S. District Court CENTRAL DISTRICT OF CALIFORNIA on the following
( Trademarks or (Patents. ( [J the patent action involves 35 U.S.C, § 292,):
DOCKET NO. DATE FILED U.S. DISTRICT COURT
11/23/2024 CENTRAL DISTRICT OF CALIFORNIA
PLAINTIFF DEFENDANT
THE LITTLE CATHOLIC, a California limited liability SPECIALIZED TOP ADVISORY SERVICES, INC., a
company; PRISCILLA DURANT, an individual: Florida corporation, d/o/a GUADALUPE GIFTS and
DOES 1-100
PATENT OR DATE OF PATENT : Re aaa te :
TRADEMARK NO. OR TRADEMARK HOLDER OF PATENT OR TRADEMARK
1 D1012750 1/30/2024 The Little Catholic, LLC
2 D1043407 9/24/2024 The Little Catholic, LLC
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In the above—entitled case, the following patent(s)/ trademark(s) have been included:
DATE INCLUDED INCLUDED BY
(1) Amendment 0) Answer O Cross Bill (J Other Pleading
PATENT OR DATE OF PATENT a St eaten , 3
TRADEMARK NO. OR TRADEMARK HOLDER OF PATENT OR TRADEMARK
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In the above—entitled case, the following decision has been rendered or judgement issued:
DECISION/JUDGEMENT
CLERK (BY) DEPUTY CLERK DATE

Copy 1—Upon initiation of action, mail this copy to Director Copy 3—Upon termination of action, mail this copy to Director
Copy 2—Upon filing document adding patent(s), mail this copy to Director Copy 4—Case file copy

